Case: 1:17-md-02804-DAP Doc #: 2373-13 Filed: 08/14/19 1 of 2. PageID #: 387863




                EXHIBIT 38
        Case: 1:17-md-02804-DAP Doc #: 2373-13 Filed: 08/14/19 2 of 2. PageID #: 387864



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                                                                  April 25, 2018


        Mr. John Martin
        Assistant Administrator,
         Diversion Control Division
        Drug Enforcement Administration
        8701 Morrissette Drive
        Springfield, Virginia 22152

        Dear Mr. Martin:

                I am writing on behalf of Cardinal Health to request guidance from the Drug
        Enforcement Administration ("DEA") regarding a matter that has recently come to our attention.
        A small percentage of controlled substances orders which exceeded our internal order limit
        thresholds, and which were entered into our automated suspicious order system for reporting to
        DEA, failed to transmit to DEA Although the orders were not sent to DEA, all orders were
        blocked by Cardinal Health and were not shipped to any customers. The overwhelming majority
        of the unshipped orders are old, dating from 2012 to 2015.

               Because Cardinal Health did not fill or ship these orders to any customers, we seek
        DEA's guidance as to whether the agency wants Cardinal Health to report the orders identified
        above. If so, please advise what format and method of reporting to use.

                I look forward to hearing from you. You may direct your response to my attention via
        email to larry.cote(qiquarles.com.

                                                                  Very truly yours,

                                                                  QUARLES & BRADY LLP




        LPC
        cc:     Susan A. Gibson, Deputy Assistant Administrator,
                  Diversion Control Division (via e-mail)




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